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[N THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

CONSTANTINE CORDOGAN,
Plaintit`f,

VS. NO. 03-2755-Ma/V
KAWAI AMERlCA CORPORATION, et al.,

Defendants.

 

ORDER OF DISMISSAL

 

The parties have Submitted a Stipulation of Dismissal With Prejudice in this matter
indicating that this matter may be dismissed

IT IS THEREFORE ORDERED that this case is DISMISSED With prejudice, each
party to bear its own costs, including attorney’S fees.

Entered thiSq-') }{`day of May, 2005.

MWM,»

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

